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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF IOWA
                                                                                  RECEIVED
                                                                                       AUG 05 zen
UNITED STATES OF AMERICA,                    )
                                             )                                    CLERK U.S. DISTRICT COURT
                       Plaintiff,            )                                    SOUTHERN DISTRICT OF IOWA
                                             )
               vs.                           )       Case No. 3:11-cr-00025
                                             )
CHRISTOPHER MICHAEL                          )
ROBERTSON,                                   )
                                             )
                       Defendant.            )



    REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY


       The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The Defendant entered

a plea of guilty to Count(s) 1  W4        of the Indictment. After cautioning and examining the

Defendant under oath concerning each of the subjects mentioned in Rule 11, I determined that the

guilty plea(s) was/were knowing and voluntary as to each count, and that the offense(s) charged

ill/are supported by an independent factual basis concerning each of the essential elements of such

offense(s). I, therefore, recommend that the plea(s) of guilty be accepted, that a pre-sentence

investigation and report be prepared, and that the Defendant be adjudged guilty and have sentence

imposed accordingly.




                                                  THOMA
                                                  UNITED


                                            NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days from
the date ofits service shall bar an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C. 636(b)(1)(B).
